       Case 2:21-cv-01130-KOB           Document 43        Filed 07/27/22      Page 1 of 1              FILED
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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

JESSE O’NEAL,                                    ]
                                                 ]
       Plaintiff,                                ]
                                                 ]
v.                                               ]        2:21-cv-1130-KOB
                                                 ]
UNITED RENTALS, INC., et al.,                    ]
                                                 ]
       Defendants.                               ]
                                                 ]


                                             ORDER

       This matter is before the court on the Plaintiff and Defendant United Rentals, Inc.’s “Pro

Tanto Stipulation of Dismissal.” (Doc. 42). The court DISMISSES WITH PREJUDICE all

claims of the Plaintiff against Defendant United Rentals, Inc., each party to bear his or its own

costs. The court DISMISSES Defendant United Rentals, Inc. as a party defendant in this action.

       The case will proceed with the Plaintiff’s claims against the remaining Defendants.

       DONE and ORDERED this 27th day of July, 2022.



                                                     ____________________________________
                                                     KARON OWEN BOWDRE
                                                     UNITED STATES DISTRICT JUDGE
